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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION



ANITA CARTER                                              Civil Action No.

                      Plaintiff
v.

EXPERIAN INFORMATION SOLUTIONS,
INC., TRANS UNION, LLC, EQUIFAX
INFORMATION SERVICES, LLC,
COMENITY BANK
                                                          JURY TRIAL DEMANDED

                 Defendants
________________________________________


                                            COMPLAINT

     NOW comes the Plaintiff, ANITA CARTER (hereinafter the “Plaintiff”), through their

Counsel of record to make their allegations known against the Defendants by and through their

complaint that alleges the following:

                                    PRELIMINARY STATEMENT

     1.     This is an action for actual, statutory, and punitive damages, costs, and attorneys’ fees

pursuant to 15 U.S.C. §1681 et seq. (Fair Credit Reporting Act).

     2.     Plaintiff makes these allegations on information and belief, with the exception of those

allegations that pertain to Plaintiff or Plaintiff’s counsel, which Plaintiff alleges on personal

knowledge.

     3.     While many violations are described below with specificity, this Complaint alleges

violations of the statutes cited in their entirety.




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   4.       All violations by the Defendants were knowing, reckless, willful, and intentional, and

Defendants did not maintain procedures reasonably adapted to avoid any such violations.

   5.       Unless otherwise indicated, the use of a Defendant’s name in this Complaint includes

all agents, principles, managing agents, employees, officers, members, directors, heirs, successors,

assigns, principals, trustees, sureties, subrogees, representatives, subsidiaries, shell corporations,

D/B/As and insurers of those Defendants named in this Complaint.

                                 JURISDICTION AND VENUE

   6.       Jurisdiction of this Court is conferred by 15 U.S.C. §1681(p) and 28 U.S.C. §1331.

   7.       Venue in this District is appropriate under 28 U.S.C. §1391(b).

                                             PARTIES

   8.       Plaintiff is a natural person and a “consumer” as that term is defined by 15 U.S.C. §

1681a(c).

   9.       Defendant, Experian Information Solutions, Inc (hereinafter Experian) is a For-Profit

Incorporation that has a headquarters in the Eastern District of Texas as well as being registered

to do business in Texas and with a registered agent in Texas. Defendant is a “consumer reporting

agency,” as defined by 15 U.S.C. §1681a(f), and is engaged in the business of assembling,

evaluating, and disbursing information concerning consumers for the purpose of furnishing

consumer reports, as defined by 15 U.S.C. §1681a(d), to third parties.

   10.      Defendant, Equifax Information Services, LLC, (hereinafter Equifax) is a Foreign For-

Profit Limited Liability Company registered to do business in Texas and with a registered agent in

Texas. Defendant is a “consumer reporting agency,” as defined by 15 U.S.C. § 1681a(f), and is

engaged in the business of assembling, evaluating, and disbursing information concerning

consumers for the purpose of furnishing consumer reports, as defined by 15 U.S.C. § 1681a(d), to



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third parties. Based on information and belief, Equifax is reporting consumer credit files on over

one million consumers in the Eastern District of Texas.

   11.     Defendant, TransUnion, LLC, (hereinafter TransUnion) is a Foreign For-Profit Limited

Liability Company registered to do business in Texas and with a registered agent in Texas.

Defendant is a “consumer reporting agency,” as defined by 15 U.S.C. § 1681a(f), and is engaged

in the business of assembling, evaluating, and disbursing information concerning consumers for

the purpose of furnishing consumer reports, as defined by 15 U.S.C. § 1681a(d), to third parties.

Based on information and belief, TransUnion is reporting consumer credit files on over one million

consumers in the Eastern District of Texas.

   12.     Defendant Comenity Bank (hereinafter Comenity) is a For-Profit Limited Liability

Company registered to do business in Texas and with a registered agent in Texas. Defendant is a

“furnisher” of information, as defined by 15 U.S.C §1681s(a)&(b), who regularly and in the

ordinary course of business furnishes credit information to Credit Reporting Agencies about

consumer transactions. Defendant is actively conducting business in the Eastern District of Texas.

   13.     All defendants conduct regular, continuous, systematic, and substantial business in the

Eastern District of Texas.

                                     FACTUAL ALLEGATIONS

   14.     Plaintiff incorporates by reference all the foregoing paragraphs as though the same

were set forth at length herein.

   15.     Plaintiff’s name is Anita Carter.

   16.     Plaintiff purchased a home in March 2023. When they closed on the home, Heritage

Title sent a check to pay off Plaintiff’s Comenity Bank Zales card in full. Plaintiff has proof of

this. Plaintiff is still being held accountable for a balance that was already paid off.



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    17.     After Plaintiff discovered the inaccurate credit reporting, they disputed the inaccurate

account with Experian, Equifax, and TransUnion (collectively “the Credit Reporting Agencies”),

via dispute letters mailed directly the Credit Reporting Agencies via USPS certified mail dated

October 6, 2023, each containing a detailed and thorough dispute letter in which Plaintiff identified

the accounts and other information appearing on their credit report. In their dispute letter, Plaintiff

explained that they were the victim of inaccurate credit reporting. Plaintiff included a copy of their

driver’s license with their dispute letter.

    18.     In order to aid the Credit Reporting Agencies in their processing of their dispute,

Plaintiff recorded a video explaining their situation and their damages and included links to the

video in their dispute letter.

    19.     Plaintiff’s first Equifax dispute was picked up at the postal facility and signed for by

an Equifax employee on October 13, 2023. Plaintiff’s Equifax dispute appears to have been signed

for by an Equifax employee named Emanual Holdman. The USPS return receipt for Plaintiff’s

first Experian dispute provides that it was delivered and left with an individual at Experian on

October 14, 2023. Plaintiff’s first Experian dispute was signed for by an Experian employee named

James Swanson. Plaintiff’s first TransUnion dispute was picked up at a postal facility and signed

for by a TransUnion employee on October 13, 2023.

    20.     Later, on November 26, 2023, Plaintiff viewed their Experian credit report and found

that it had continued reporting the disputed account inaccurately on Plaintiff’s Experian credit

report.

    21.     On November 27, 2023, Plaintiff viewed their Equifax and TransUnion credit reports

and found that the Credit Reporting Agencies had continued reporting the disputed account

inaccurately on Plaintiff’s respective credit reports.



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    22.      Experian, TransUnion, Equifax, and Comenity Bank reported inaccurate credit

information on Plaintiff’s credit file and credit report.

    23.      The inaccurate account that continued to be reported by the Credit Reporting Agencies

(collectively “the CRAs”) is:

                 ADS/COMENITY/ZALES Acct# 578097XXXXXXXXXX

                                         CAUSES OF ACTION

    24.      Plaintiff incorporates by reference the foregoing paragraphs and footnotes as though

the same were set forth at length herein.

    25.      This suit is based upon the Defendants’ violations of the Fair Credit Reporting Act

(FCRA). All causes of action were the proximate, substantial factor in, and/or producing causes of

damages which Plaintiff has suffered.

             COUNT I-VIOLATION OF THE FAIR CREDIT REPORTING ACT

    26.      Plaintiff incorporates by reference the foregoing paragraphs as though the same were

set forth at length herein.

    27.      This suit is brought against all Defendants as Plaintiff’s damages that are the basis of

this lawsuit were caused by Defendants’ violations of the FCRA. In all instances of violating the

FCRA, Defendants’ conduct was willful, intentional, reckless, and/or negligent. Under, 15 U.S.C.

§1681n and §1681o, Plaintiff is entitled to recover statutory damages, actual damages, punitive

damages, and reasonable attorneys’ fees.

          15 U.S.C. §1681n, “Civil Liability for willful noncompliance” reads:

                 (a) Any person who willfully fails to comply with any requirement
                 imposed under this title with respect to any consumer is liable to that
                 consumer in an amount equal to the sum of
                 (1) any actual damages sustained by the consumer as a result of the
                 failure or damages of not less than $100 and not more than $1000
                 (2) such amount of punitive damages as the court may allow; and

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                 (3) in the case of any successful action to enforce any liability under
                 this section, the costs of the action together with reasonable
                 attorneys fees as determined by the court.


          And, 15 U.S.C. §1681o, “Civil Liability for negligent noncompliance” reads:

                 (a) Any person who is negligent in failing to comply with any
                 requirement imposed under this title with respect to any consumer
                 is liable to that consumer in an amount equal to the sum of:

                 (1) any actual damages sustained by the consumer as a result of the
                 failure; and
                 (2) in the case of any successful action to enforce any liability under
                 this section, the costs of the action with reasonable attorney’s fees
                 as determined by the court.

                                    Experian’s FCRA Violations

    28.      After Plaintiff discovered the inaccurate credit reporting of the Comenity Bank account

on their Experian credit report, Plaintiff mailed a dispute directly to Experian via USPS certified

mail.

    29.      Plaintiff’s dispute package to Experian included a detailed and thorough dispute letter

dated October 6, 2023, and a copy of Plaintiff’s driver’s license for identification verification.

    30.      In order to aid Experian in its processing of Plaintiff’s dispute, Plaintiff recorded a

video explaining their situation and their damages and included links to the video in their dispute

letter.

    31.      Plaintiff’s dispute package to Experian was delivered and left with an individual at

Experian on October 14, 2023. Plaintiff’s first dispute package to Experian was signed for by an

Experian employee named James Swanson.

    32.      On November 26, 2022, Plaintiff viewed their Experian credit report and found that

Experian had continued to report the disputed Comenity account.




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   33.     Experian violated its duty under 15 U.S.C. §1681i(a)(1)(A) by failing conduct a

reasonable investigation into Plaintiff’s notice of dispute. Based on the facts, information and

allegations within the complaint, Experian willfully, intentionally, recklessly, and/or negligently

violated this section of the FCRA.

   34.     Experian violated its duty under 15 U.S.C. §1681i(a)(4) by failing to review and

consider the documents that Plaintiff attached to the dispute letter. Based on the facts, information

and allegations within the complaint, Experian willfully, intentionally, recklessly, and/or

negligently violated this section of the FCRA.

   35.     Experian violated its duty under 15 U.S.C. §1681i(a)(5) by failing to delete or correct

the inaccurate information that was disputed. Based on the facts, information and allegations

within the complaint, Experian willfully, intentionally, recklessly, and/or negligently violated this

section of the FCRA.

   36. The fact that Experian continued its reporting of the inaccurate information on Plaintiff’s

credit profiles/credit reports is proof that Experian failed to conduct a reasonable investigation,

failed to properly review and consider the attached documents, and failed to delete or correct the

inaccurate information on more than one occasion.

   15 U.S.C. §1681i(a)(1)(A) reads:

           (a) Reinvestigations in case disputed information

            (1) Reinvestigation required

                   (A) In general-- Subject to subjection (f), if the completeness or accuracy of
                   any item of information contained in a consumer's file at a consumer reporting
                   agency is disputed by the consumer and the consumer notifies the agency
                   directly, or indirectly through a reseller, of such dispute, the agency shall, free
                   of charge, conduct a reasonable reinvestigation to determine whether the
                   disputed information is inaccurate and record the current status of the disputed
                   information, or delete the item from the file in accordance with paragraph (5),



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                   before the end of the 30 day period beginning on the date on which the agency
                   receives the notice of the dispute from the consumer or reseller.

   And;


   15 U.S.C. §1681i(a)(4) reads:

               (4) Consideration of consumer information. In conducting any reinvestigation
               under paragraph (1) with respect to disputed information in the file of any
               consumer, the consumer reporting agency shall review and consider all relevant
               information submitted by the consumer in the period described in paragraph
               (1)(A) with respect to such disputed information.

   And;

   15 U.S.C. §1681i(a)(5) reads:

               (5) Treatment of Inaccurate or Unverifiable Information

               (A)In general. If, after any reinvestigation under paragraph (1) of
               any information disputed by a consumer, an item of the information
               is found to be inaccurate or incomplete or cannot be verified, the
               consumer reporting agency shall-

                       (i)    promptly delete that item of information from the file
                              of the consumer, or modify that item of information,
                              as appropriate, based on the results of the
                              reinvestigation; and

                       (ii)   promptly notify the furnisher of that information that
                              the information has been modified or deleted from
                              the file of the consumer


   37.     Experian violated 15 U.S.C. §1681e(b), when it failed to follow reasonable procedures

to assure maximum accuracy of the information, it reported on Plaintiff’s credit report/file. Based

on the facts, information and allegations within the complaint, Experian willfully, intentionally,

recklessly, and negligently violated this section of the FCRA.

   38.     If Experian had implemented reasonable procedures to assure maximum accuracy, it

would have either deleted, suppressed and/or blocked the inaccurate information after being


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notified of the problem from Plaintiff’s detailed dispute letter along with documents that prove the

information is inaccurate.

     15 U.S.C. §1681e(b) reads as follows:

                 (a) Accuracy of the Report

                 Whenever a consumer reporting agency prepares a consumer
                 report it shall follow reasonable procedures as assure maximum
                 possible Accuracy of the information concerning the individual
                 about whom the report relates.

Damages

    39.     Experian’s inaccurate reporting has caused past, current, and future actual damages to

the Plaintiff and will continue to cause damages for an unknown period of time. The inaccurate

account being reported has a negative effect on Plaintiff’s credit reputation, credit worthiness, and

credit scores, and Plaintiff’s overall borrowing power is severely damaged. In short, Plaintiff’s

credit was destroyed. Plaintiff is entitled to an accurate credit file/report.

    40.     As a result of Experian’s violations of the FCRA, which are listed above, Plaintiff is

entitled to actual, statutory, and punitive damages along with their attorney’s fees and costs in this

matter. Experian, as defined above, conducted itself in a manner that it acted willfully,

intentionally, recklessly, and/or negligently in its actions related to Plaintiff and therefore Plaintiff

is entitled to actual, statutory, and punitive damages along with their attorney’s fees and costs in

this matter.

    41.     The conduct of Experian was a direct and/or proximate cause, as well as a substantial

factor in, and/or a producing cause bringing about the serious injuries, damages, and harm that

Plaintiff has suffered and continues to suffer as of the filing of this complaint. Plaintiff expects

their damages caused by Experian to continue to accrue and be ongoing until they are made whole

again if that ever occurs.

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   42.     Experian, due to its conduct, is liable to compensate Plaintiff for the full amount of

actual, statutory, compensatory, and punitive damages, as well as, such other relief, permitted by

law to compensate. Plaintiff has suffered the following types of damages due to the previously

described conduct of Experian:

                   a. Physical manifestations of mental anguish, humiliation, embarrassment,

                        and anxiety. Plaintiff’s anxiety, depression and mental anguish have caused

                        Plaintiff frequent loss of sleep up to 3-4 nights weekly, weight loss, and

                        neck and back pain. Plaintiff now takes medication for her headaches, loss

                        of sleep, stress, and high blood pressure. Plaintiff’s damages are significant,

                        continuing, and ongoing.

                   b. Emotional damages in the form of mental anguish, humiliation, and

                        embarrassment. The inaccurate reporting has caused Plaintiff to feel

                        anxious in her everyday life. Plaintiff has also suffered from depression as

                        a result of Experian’s conduct. Plaintiff also takes medication to alleviate

                        her stress and anxiety. Plaintiff has experienced debilitating stress, anxiety,

                        and depression as a result of Experian’s inaccurate reporting and cries

                        frequently due to the stress she has been under. Plaintiff’s damages are

                        significant, continuing, and ongoing.

                   c.   Damages to Plaintiff’s credit worthiness, credit reputation, and borrowing

                        power. Plaintiff’s wealth has been delayed as a result of Experian’s conduct.

   43.     Plaintiff’s damages caused by and through the conduct of Experian are more

specifically described as follows:

                   a. Emotional damages in the form of mental anguish, humiliation, embarrassment,

                        depression, and anxiety.

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                     b. Physical manifestations of stress and anxiety including loss of sleep, headaches,

                         weight loss, and neck and back pain.

                     c. Financial damages including damages to Plaintiff’s creditworthiness, credit

                         reputation, and borrowing power.

                     d. All other damages as described above.

    44.     All of Plaintiff’s damages have led to their great detriment and loss were caused by and

are continuing due to the above-described conduct of Experian.

                                    Trans Union’s FCRA Violations

    45.     After Plaintiff discovered the inaccurate credit reporting of the Comenity account on

their TransUnion credit report, Plaintiff mailed their dispute directly to TransUnion via USPS

certified mail.

    46.     Plaintiff’s dispute package to TransUnion included a detailed and thorough dispute letter dated

October 6, 2023, and a copy of Plaintiff’s driver’s license for identification verification.

    47.     In order to aid TransUnion in its processing of Plaintiff’s dispute, Plaintiff recorded a

video explaining their situation and their damages and included links to the video in their dispute

letter.

    48.     Plaintiff’s first dispute package to TransUnion was delivered and left with an individual

at TransUnion on October 13, 2023.

    49.     On November 27, 2023, Plaintiff viewed her TransUnion credit report and found that

TransUnion had continued to report the disputed Comenity account.

    50.     TransUnion violated its duty under 15 U.S.C. §1681i(a)(1)(A) by failing conduct a reasonable

investigation into Plaintiff’s notice of dispute. Based on the facts, information and allegations within the

complaint, TransUnion willfully, intentionally, recklessly, and/or negligently violated this section of the

FCRA.

    51.      TransUnion violated its duty under 15 U.S.C. §1681i(a)(4) by failing to review and consider

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the documents that Plaintiff attached to the dispute letter. Based on the facts, information and allegations

within the complaint, TransUnion willfully, intentionally, recklessly, and/or negligently violated this

section of the FCRA.

    52.      TransUnion violated its duty under 15 U.S.C. §1681i(a)(5) by failing to delete or correct the

inaccurate information that was disputed. Based on the facts, information and allegations within the

complaint, TransUnion willfully, intentionally, recklessly, and/or negligently violated this section of the

FCRA.

    53.      The fact that TransUnion continued its reporting of the inaccurate information on Plaintiff’s

credit profiles/credit reports is proof that TransUnion failed to conduct a reasonable investigation, failed to

properly review and consider the attached documents, and failed to delete or correct the inaccurate

information on more than one occasion.


15 U.S.C. §1681i(a)(1)(A) reads:

             (a) Reinvestigations in case disputed information

          (1) Reinvestigation required

                                        (A) In general-- Subject to subjection (f), if the completeness
                     or accuracy of any item of information contained in a consumer's file at a
                     consumer reporting agency is disputed by the consumer and the consumer
                     notifies the agency directly, or indirectly through a reseller, of such dispute, the
                     agency shall, free of charge, conduct a reasonable reinvestigation to determine
                     whether the disputed information is inaccurate and record the current status of
                     the disputed information, or delete the item from the file in accordance with
                     paragraph (5), before the end of the 30 day period beginning on the date on
                     which the agency receives the notice of the dispute from the consumer or
                     reseller.

And;

15 U.S.C. §1681i(a)(4) reads:

                 (4) Consideration of consumer information. In conducting any reinvestigation
                 under paragraph (1) with respect to disputed information in the file of any
                 consumer, the consumer reporting agency shall review and consider all relevant
                 information submitted by the consumer in the period described in paragraph (1)(A)
                 with respect to such disputed information.

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And;

          15       U.S.C. §1681i(a)(5) reads:

                   (5) Treatment of Inaccurate or Unverifiable Information

                   (A)In general. If, after any reinvestigation under paragraph (1) of
                   any information disputed by a consumer, an item of the information
                   is found to be inaccurate or incomplete or cannot be verified, the
                   consumer reporting agency shall-

                            (i)      promptly delete that item of information from the
                                   file of the consumer, or modify that item of
                                   information, as appropriate, based on the results of
                                   the reinvestigation; and
                            (ii)   promptly notify the furnisher of that information that
                                   the information has been modified or deleted from
                                   the file of the consumer

    54.             TransUnion violated 15 U.S.C. §1681e(b), when it failed to follow reasonable procedures

to assure maximum accuracy of the information it reported on Plaintiff’s credit report/file. Based on the

facts, information and allegations within the complaint, TransUnion willfully, intentionally, recklessly, and

negligently violated this section of the FCRA.

    55.             If TransUnion had implemented reasonable procedures to assure maximum accuracy, it

would have either deleted, suppressed and/or blocked the inaccurate information after being notified of the

problem from Plaintiff’s detailed dispute letter along with documents that prove the information is

inaccurate.


     15 U.S.C. §1681e(b) reads as follows:

                     (a)    Accuracy of the Report
                    Whenever a consumer reporting agency prepares a consumer
                    report it shall follow reasonable procedures as assure maximum
                    possible Accuracy of the information concerning the individual
                    about whom the report relates.

Damages


    56.        TransUnion’s inaccurate reporting has caused past, current, and future actual damages to the


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Plaintiff and will continue to cause damages for an unknown period of time. The inaccurate account being

reported has a negative effect on Plaintiff’s credit reputation, credit worthiness, and credit scores, and

Plaintiff’s overall borrowing power is severely damaged. In short, Plaintiff’s credit was destroyed. Plaintiff

is entitled to an accurate credit file/report.

    57.      As a result of TransUnion’s violations of the FCRA, which are listed above, Plaintiff is entitled

to actual, statutory, and punitive damages along with their attorney’s fees and costs in this matter.

TransUnion, as defined above, conducted itself in a manner that it acted willfully, intentionally, recklessly,

and/or negligently in its actions related to Plaintiff and therefore Plaintiff is entitled to actual, statutory, and

punitive damages along with their attorney’s fees and costs in this matter.

    58.      The conduct of TransUnion was a direct and/or proximate cause, as well as a substantial factor

in, and/or a producing cause bringing about the serious injuries, damages, and harm that Plaintiff has

suffered and continues to suffer as of the filing of this complaint. Plaintiff expects their damages caused by

TransUnion to continue to accrue and be ongoing until they are made whole again if that ever occurs.

    59.      TransUnion, due to its conduct, is liable to compensate Plaintiff for the full amount of actual,

statutory, compensatory, and punitive damages, as well as, such other relief, permitted by law to

compensate. Plaintiff has suffered the following types of damages due to the previously described conduct

of TransUnion:

                               a. Physical manifestation of mental anguish, humiliation, embarrassment,

                                   and anxiety. Plaintiff’s anxiety, depression and mental anguish have

                                   caused Plaintiff frequent loss of sleep up to 3-4 nights weekly, weight

                                   loss, and neck and back pain. Plaintiff now takes medication for her

                                   headaches, loss of sleep, stress, and high blood pressure. Plaintiff’s

                                   damages are significant, continuing, and ongoing.

                               b. Emotional damages in the form of mental anguish, humiliation, and

                                   embarrassment. The inaccurate reporting has caused Plaintiff to feel

                                   anxious in her everyday life. Plaintiff has also suffered from depression

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                                   as a result of Experian’s conduct. Plaintiff also takes medication to

                                   alleviate her stress and anxiety. Plaintiff has experienced debilitating

                                   stress, anxiety, and depression as a result of Experian’s inaccurate

                                   reporting and cries frequently due to the stress she has been under.

                                   Plaintiff’s damages are significant, continuing, and ongoing.

                               c. Damages to Plaintiff’s credit worthiness, credit reputation, and

                                   borrowing power. Plaintiff’s wealth has been delayed as a result of

                                   Experian’s conduct.

    57. Plaintiff’s damages caused by and through the conduct of Experian are more specifically described

as follows:

                               a. Emotional damages in the form of mental anguish, humiliation,

                                   embarrassment, depression, and anxiety.

                               b. Physical manifestations of stress and anxiety include loss of sleep,

                                   headaches, weight loss, and neck and back pain.

                               c. Financial damages including damages to Plaintiff’s creditworthiness,

                                   credit reputation, and borrowing power.

                               d. All other damages as described above.

    58.       All of Plaintiff’s damages have led to their great detriment and loss were caused by and are

continuing due to the above-described conduct of TransUnion.

                                       Equifax’s FCRA Violations

    59.           After Plaintiff discovered the inaccurate credit reporting of the Comenity Bank account on

their Equifax credit report, Plaintiff mailed a dispute directly to Equifax via USPS certified mail.

    60.          Plaintiff’s dispute package to Equifax included a detailed and thorough dispute letter dated

October 6, 2023, and a copy of Plaintiff’s driver’s license for identification verification.

    61. In order to aid the Equifax in its processing of Plaintiff’s dispute, Plaintiff recorded a video



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explaining their situation and their damages and included links to the video in their dispute letter.

    62.         Plaintiff’s dispute package to Equifax was delivered and left with an individual at Equifax

on October 13, 2023.

    63.         On November 27, 2023, Plaintiff viewed her Equifax credit report and found that Equifax

had continued to report the disputed Comenity Bank account.

    64.         Equifax violated its duty under 15 U.S.C. §1681i(a)(1)(A) by failing conduct a reasonable

investigation into Plaintiff’s notice of dispute. Based on the facts, information and allegations within the

complaint, Equifax willfully, intentionally, recklessly, and/or negligently violated this section of the

FCRA.

    65.        Equifax violated its duty under 15 U.S.C. §1681i(a)(4) by failing to review and consider the

documents that Plaintiff attached to the dispute letter. Based on the facts, information and allegations within

the complaint, Equifax willfully, intentionally, recklessly, and/or negligently violated this section of the

FCRA.

    66.         Equifax violated its duty under 15 U.S.C. §1681i(a)(5) by failing to delete or correct the

inaccurate information that was disputed. Based on the facts, information and allegations within the

complaint, Equifax willfully, intentionally, recklessly, and/or negligently violated this section of the

FCRA.

    67.          The fact that Equifax continued its reporting of the inaccurate information on Plaintiff’s

credit profiles/credit reports is proof that Equifax failed to conduct a reasonable investigation, failed to

properly review and consider the attached documents, and failed to delete or correct the inaccurate

information on more than one occasion.


15 U.S.C. §1681i(a)(1)(A) reads:

             (a) Reinvestigations in case disputed information

          (1) Reinvestigation required



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                                     (A) In general-- Subject to subjection (f), if the completeness
                  or accuracy of any item of information contained in a consumer's file at a
                  consumer reporting agency is disputed by the consumer and the consumer
                  notifies the agency directly, or indirectly through a reseller, of such dispute, the
                  agency shall, free of charge, conduct a reasonable reinvestigation to determine
                  whether the disputed information is inaccurate and record the current status of
                  the disputed information, or delete the item from the file in accordance with
                  paragraph (5), before the end of the 30 day period beginning on the date on
                  which the agency receives the notice of the dispute from the consumer or
                  reseller.



And;



15 U.S.C. §1681i(a)(4) reads:



              (4) Consideration of consumer information. In conducting any reinvestigation
              under paragraph (1) with respect to disputed information in the file of any
              consumer, the consumer reporting agency shall review and consider all relevant
              information submitted by the consumer in the period described in paragraph (1)(A)
              with respect to such disputed information.



And;

       15     U.S.C. §1681i(a)(5) reads:



              (5) Treatment of Inaccurate or Unverifiable Information


              (A)In general. If, after any reinvestigation under paragraph (1) of
              any information disputed by a consumer, an item of the information
              is found to be inaccurate or incomplete or cannot be verified, the
              consumer reporting agency shall-

                       (i)        promptly delete that item of information from the
                                file of the consumer, or modify that item of
                                information, as appropriate, based on the results of
                                the reinvestigation; and


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                           (ii)      promptly notify the furnisher of that information that
                                     the information has been modified or deleted from
                                     the file of the consumer

    68.       Equifax violated 15 U.S.C. §1681e(b), when it failed to follow reasonable procedures to assure

maximum accuracy of the information, they reported on Plaintiff’s credit report/file. Based on the facts,

information and allegations within the complaint, Equifax willfully, intentionally, recklessly, and

negligently violated this section of the FCRA.

    69.       If Equifax had implemented reasonable procedures to assure maximum accuracy, they would

have either deleted, suppressed and/or blocked the inaccurate information after being notified of the

problem from Plaintiff’s detailed dispute letter along with documents that prove the information is

inaccurate.


     15 U.S.C. §1681e(b) reads as follows:

                   (a)    Accuracy of the Report
                  Whenever a consumer reporting agency prepares a consumer
                  report it shall follow reasonable procedures as assure maximum
                  possible Accuracy of the information concerning the individual
                  about whom the report relates.

Damages

    70. Equifax’s inaccurate reporting has caused past, current, and future actual damages to the Plaintiff

and will continue to cause damages for an unknown period of time. The inaccurate account being reported

has a negative effect on Plaintiff’s credit reputation, credit worthiness, and credit scores, and Plaintiff’s

overall borrowing power is severely damaged. In short, Plaintiff’s credit was destroyed. Plaintiff is entitled

to an accurate credit file/report.

    71. As a result of Equifax’s violations of the FCRA, which are listed above, Plaintiff is entitled to

actual, statutory, and punitive damages along with their attorney’s fees and costs in this matter. Equifax, as

defined above, conducted itself in a manner that it acted willfully, intentionally, recklessly, and/or

negligently in its actions related to Plaintiff and therefore Plaintiff is entitled to actual, statutory, and

punitive damages along with their attorney’s fees and costs in this matter.

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    72. The conduct of Equifax was a direct and/or proximate cause, as well as a substantial factor in,

and/or a producing cause bringing about the serious injuries, damages, and harm that Plaintiff has suffered

and continues to suffer as of the filing of this complaint. Plaintiff expects their damages caused by Equifax

to continue to accrue and be ongoing until they are made whole again if that ever occurs.

    73. Equifax, due to its conduct, is liable to compensate Plaintiff for the full amount of actual, statutory,

compensatory, and punitive damages, as well as, such other relief, permitted by law to compensate. Plaintiff

has suffered the following types of damages due to the previously described conduct of Equifax:

                                  a. Physical      manifestation    of    mental     anguish,    humiliation,

                                      embarrassment, and anxiety. Plaintiff’s anxiety, depression and

                                      mental anguish have caused Plaintiff frequent loss of sleep up to 3-4

                                      nights weekly, weight loss, and neck and back pain. Plaintiff now

                                      takes medication for her headaches, loss of sleep, stress, and high

                                      blood pressure. Plaintiff’s damages are significant, continuing, and

                                      ongoing.

                                  b. Emotional damages in the form of mental anguish, humiliation, and

                                      embarrassment. The inaccurate reporting has caused Plaintiff to feel

                                      anxious in her everyday life. Plaintiff has also suffered from

                                      depression as a result of Experian’s conduct. Plaintiff also takes

                                      medication to alleviate her stress and anxiety. Plaintiff has

                                      experienced debilitating stress, anxiety, and depression as a result of

                                      Experian’s inaccurate reporting and cries frequently due to the stress

                                      she has been under. Plaintiff’s damages are significant, continuing,

                                      and ongoing.

                                  c. Damages to Plaintiff’s credit worthiness, credit reputation, and

                                      borrowing power. Plaintiff’s wealth has been delayed as a result of

                                      Experian’s conduct.

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    73.        Plaintiff’s damages caused by and through the conduct of Equifax are more specifically

described as follows:


                              a. Emotional damages in the form of mental anguish, humiliation,

                                  embarrassment, depression, and anxiety.

                              b. Physical manifestations of stress and anxiety including loss of sleep,

                                  headaches, weight loss, and neck and back pain.

                              c. Financial damages including damages to Plaintiff’s creditworthiness,

                                  credit reputation, and borrowing power.

                              d. All other damages as described above.

    74.      All of Plaintiff’s damages have led to their great detriment and loss were caused by and are

continuing due to the above-described conduct of Equifax.

            COMENITY BANK VIOLATION OF 15 U.S.C. § 1681s-2(b) OF THE FAIR
                            CREDIT REPORTING ACT

    75. Plaintiff repeats, realleges, and reasserts the allegations contained in the paragraphs above

and incorporates them as if specifically set forth at length herein.

    76. At all times pertinent hereto, Comenity Bank. is a “person” as that term is used and defined

under 15 U.S.C. § 1681a.

    77. Comenity Bank supplied Experian, TransUnion, and Equifax with information about

Plaintiff that was misleading and inaccurate. It is on information and belief that after the credit

reporting agencies received Plaintiff’s dispute, they notified and forwarded Plaintiff’s dispute to

Comenity Bank.

    78. Based on information and belief, when the credit reporting agencies sent Comenity Bank

notice of Plaintiff’s dispute, they included a copy of Plaintiff’s dispute letter that contained two

video links detailing Plaintiff’s situation and how they were in fact a victim.



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   79. Comenity Bank willfully, intentionally, recklessly and/or negligently failed to conduct a

reasonable investigation of the inaccurate information that Plaintiff disputed. Had Comenity Bank

conducted a reasonable investigation it would have recognized that the Plaintiff’s credit

files/reports were inaccurate.

   80. Comenity Bank willfully, intentionally, recklessly and/or negligently failed to comply with

the requirements imposed on furnishers of information pursuant to 15 U.S.C. § 1681s-2(b).


       15 U.S.C. §1681s-2(b) reads as follows:

             (b) DUTIES OF FURNISHERS OF INFORMATION UPON NOTICE OF DISPUTE

             (1) IN GENERAL

       After receiving notice pursuant to section 1681i(a)(2) of this title of a dispute with
       regard to the completeness or accuracy of any information provided by a person to
       a consumer reporting agency, the person shall--

       (A) conduct an investigation with respect to the disputed information;

       (B) review all relevant information provided by the consumer reporting
       agency pursuant to section 1681i(a)(2) of this title;

       (C) report the results of the investigation to the consumer reporting agency;

       (D) If the investigation finds that the information is incomplete or inaccurate, report
       those results to all other consumer reporting agencies to which the person furnished
       the information and that compile and maintain files on consumers on a nationwide
       basis; and

       (E) if an item of information disputed by a consumer is found to be inaccurate or
       incomplete or cannot be verified after any reinvestigation under paragraph (1), for
       purposes of reporting to a consumer reporting agency only, as appropriate, based
       on the results of the reinvestigation promptly—

               (i) modify that item of information;
               (ii) delete that item of information; or
               (iii) permanently block the reporting of that item of information.

       (2)         DEADLINE



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        A person shall complete all investigations, reviews, and reports required under
        paragraph (1) regarding information provided by the person to a consumer
        reporting agency, before the expiration of the period under section 1681i(a)(1) of
        this title within which the consumer reporting agency is required to complete
        actions required by that section regarding that information.


    81. Comenity Bank’s inaccurate reporting has caused, is currently causing and will continue

to cause Plaintiff excessive damages. The inaccurate account being reported was negative and so

extremely derogatory that Plaintiff’s credit reputation, credit worthiness, credit scores and overall

ability to obtain financing were, and still are, severely damaged. In short, Plaintiff’s credit was

destroyed. Plaintiff is entitled to an accurate credit file/report.

    82. As a result of Comenity Bank’s conduct, Plaintiff has suffered actual damages and injuries

to their physical and emotional well-being. Plaintiff has been and still is humiliated and

embarrassed over Comenity Bank’s reporting. Plaintiff’s credit reputation, credit worthiness,

credit scores, and overall ability to obtain financing were, and still are, severely damaged.

    83. Comenity Bank was the direct and proximate cause, as well as a substantial factor in, and/or

a producing cause, in bringing about the serious injuries, damages and harm to Plaintiff. Comenity

Bank is liable to compensate Plaintiff for the full amount of actual, statutory, compensatory and

punitive damages, as well as, such other relief, permitted by law.

Damages

    84. As a result of Comenity Bank violations of the FCRA, which are listed above, Plaintiff is

entitled to actual, statutory, and punitive damages along with their attorney’s fees and costs in this

matter. Comenity Bank’s conduct was such that it acted willfully, intentionally, recklessly and/or

negligently in its actions related to Plaintiff and therefore Plaintiff is entitled to actual, statutory,

and punitive damages along with their attorney’s fees and costs in this matter.




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   85. The conduct of Comenity Bank was a direct and/or proximate cause, as well as a substantial

factor in, bringing about the serious injuries, damages, and harm that Plaintiff has suffered and

continues to suffer as of the filing of this complaint. Plaintiff expects their damages caused by

Comenity Bank to continue to accrue and be ongoing until they are made whole again if that ever

occurs.

   86. Comenity Bank, due to its conduct, is liable to compensate Plaintiff for the full amount of

actual, statutory, compensatory, and punitive damages, as well as, such other relief, permitted by

law to compensate. Plaintiff has suffered the following types of damages due to the previously

described conduct of Comenity Bank:

                         a. Physical manifestation of mental anguish, humiliation, embarrassment,

                             and anxiety. Plaintiff’s anxiety, depression and mental anguish have

                             caused Plaintiff frequent loss of sleep up to 3-4 nights weekly, weight loss,

                             and neck and back pain. Plaintiff now takes medication for her headaches,

                             loss of sleep, stress, and high blood pressure. Plaintiff’s damages are

                             significant, continuing, and ongoing.

                         b. Emotional damages in the form of mental anguish, humiliation, and

                             embarrassment. The inaccurate reporting has caused Plaintiff to feel

                             anxious in her everyday life. Plaintiff has also suffered from depression as

                             a result of Experian’s conduct. Plaintiff also takes medication to alleviate

                             her stress and anxiety. Plaintiff has experienced debilitating stress,

                             anxiety, and depression as a result of Experian’s inaccurate reporting and

                             cries frequently due to the stress she has been under. Plaintiff’s damages

                             are significant, continuing, and ongoing.

                         c. Damages to Plaintiff’s credit worthiness, credit reputation, and borrowing

                             power. Plaintiff’s wealth has been delayed as a result of Experian’s

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                              conduct.

   87. Plaintiff’s damages caused by and through the conduct of Comenity Bank are more

specifically described as follows:

                              a.     Emotional damages in the form of mental anguish,

                                     humiliation, embarrassment, depression, and anxiety.

                              b.     Physical manifestations of stress and anxiety including loss

                                     of sleep, headaches, and neck and back pain.

                              c.     Financial   damages   including   damages      to   Plaintiff’s

                                     creditworthiness, credit reputation, and borrowing power.

                              d.     All other damages as described above.

   88. All of Plaintiff’s damages have led to their great detriment and loss are caused by the

above-described conduct of Comenity Bank.

                                         PRAYER FOR RELIEF

   WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor against Defendants based on the

following requested relief:

   a. Actual and compensatory damages pursuant to 15 U.S.C. §1681;

   b. Statutory damages pursuant to 15 U.S.C. §1681;

   c. Punitive damages pursuant to 15 U.S.C. §1681;

   d. Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. §1681n, §1681o; and

   e. Such other and further relief as may be necessary, just and proper.


Dated: December 21, 2023


               Respectfully Submitted,



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